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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )       Case No. 22-cr-00070
                                 )
LUCAS DENNEY                     )
                                 )
                Defendant        )
                                 )



           DEFENDANT LUCAS DENNEY’S NOTICE OF ERRATA




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                                   NOTICE OF ERRATA

       Defendant, Lucas Denney, respectfully submits this errata to his Sentencing

Memorandum at Docket No. 29 in order to correct an inadvertent error.

       When the Sentencing Memorandum was filed, it was listed as being filed by Ryan

Marshall. The Sentencing Memorandum should have been filed by William Shipley.

       Date: March 16, 2022
                                            Respectfully Submitted,

                                            /s/ WILLIAM L. SHIPLEY JR.
                                            William L. Shipley, Jr., Esq.
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                                            Attorney for Defendant




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                               CERTIFICATE OF SERVICE

       I, William L. Shipley, hereby certify that on this day, March 16, 2022, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                            /s/ William L. Shipley
                                            William L. Shipley, Jr., Esq.




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